 Case 2:19-cv-08973-PA-PLA Document 10 Filed 10/22/19 Page 1 of 3 Page ID #:208



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    6   Attorneys for Defendant
        FEDEX GROUND PACKAGE SYSTEM, INC.
    7
    8                      UNITED STATES DISTRICT COURT
    9            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   10
   11   ROBERT B. HALL, individually, and      Case No: 2:19-cv-08973 PA (PLAx)
        on behalf of all others similarly
   12   situated,
                                               DEFENDANT’S PROOF OF
   13                    Plaintiff,            SERVICE OF NOTICE OF
                                               ASSIGNMENT TO UNITED STATES
   14           v.                             JUDGES (Doc 4); NOTICE TO
                                               PARTIES OF COURT-DIRECTED
   15   FEDEX GROUND PACKAGE                   ADR PROGRAM (Doc 5);
        SYSTEM, INC., a Delaware               SCHEDULING MEETING OF
   16   Corporation; GHG CORPORATION,          COUNSEL [Pursuant to FRCP 16, 26
        a Nevada Corporation; and DOES 1       (f)] (Doc 6); and STANDING ORDER
   17   through 100, inclusive,                (Doc 7)
   18                    Defendant.
   19
                                               Complaint Filed: August 2, 2019
   20                                          Trial Date:      None Set
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                                 DEFENDANT’S PROOF OF SERVICE
19674   FP 36355865.1
 Case 2:19-cv-08973-PA-PLA Document 10 Filed 10/22/19 Page 2 of 3 Page ID #:209



    1                                  PROOF OF SERVICE
                                     (CCP § 1013(a) and 2015.5)
    2
               I, the undersigned, am employed in the County of Los Angeles, State of
    3   California. I am over the age of 18 and not a party to the within action; am
        employed with Fisher & Phillips LLP and my business address is 444 South Flower
    4   Street, Suite 1500, Los Angeles, California 90071.
    5           On October 22, 2019, I served the following documents entitled
                    NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
    6                  (Doc 4);
                    NOTICE TO PARTIES OF COURT-DIRECTED ADR
    7                  PROGRAM (Doc 5);
                    SCHEDULING MEETING OF COUNSEL [Pursuant to FRCP
    8                  16, 26 (f)] (Doc 6); and
                    STANDING ORDER (Doc 7)
    9           on all the appearing and/or interested parties in this action as follows:
   10    Taras Kick                                Attorneys for Plaintiff
   11    Daniel J. Bass                            ROBERT B. HALL
         THE KICK LAW FIRM, APC
   12    815 Moraga Drive                          Tel: 310.395.2988
         Los Angeles, CA 90049                     Fax: 310.395.2088
   13                                              Email: Taras@kicklawfirm.com
                                                          Daniel@kicklawfirm.com
   14
               [by MAIL] - I am readily familiar with the firm's practice of collection and
   15           processing correspondence for mailing. Under that practice it would be
                deposited with the U.S. Postal Service on that same day with postage thereon
   16           fully prepaid at Los Angeles, California in the ordinary course of business.
                I am aware that on motion of the party served, service is presumed invalid if
   17           postage cancellation date or postage meter date is more than one day after
                date of deposit for mailing this affidavit.
   18
               [by ELECTRONIC SUBMISSION] - I served the above listed
   19           document(s) described via the United States District Court’s Electronic
                Filing Program on the designated recipients via electronic transmission
   20           through the CM/ECF system on the Court’s website. The Court’s CM/ECF
                system will generate a Notice of Electronic Filing (NEF) to the filing party,
   21           the assigned judge, and any registered users in the case. The NEF will
                constitute service of the document(s). Registration as a CM/ECF user
   22           constitutes consent to electronic service through the court’s transmission
                facilities.
   23
              I declare that I am employed in the office of a member of the bar of this
   24   Court at whose direction the service was made.
   25           Executed October 22, 2019 at Los Angeles, California.
   26     MELODY BIGLAY                         By: /s/ Melody Biglay
                        Print Name                                      Signature
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                                     DEFENDANT’S PROOF OF SERVICE
19674   FP 36355865.1
 Case 2:19-cv-08973-PA-PLA Document 10 Filed 10/22/19 Page 3 of 3 Page ID #:210



    1                                  PROOF OF SERVICE
                                     (CCP § 1013(a) and 2015.5)
    2
               I, the undersigned, am employed in the County of Los Angeles, State of
    3   California. I am over the age of 18 and not a party to the within action; am
        employed with Fisher & Phillips LLP and my business address is 444 South Flower
    4   Street, Suite 1500, Los Angeles, California 90071.
    5          On October 22, 2019, I served the foregoing document entitled
        DEFENDANT’S PROOF OF SERVICE OF NOTICE OF ASSIGNMENT TO
    6   UNITED STATES JUDGES (Doc 4); NOTICE TO PARTIES OF COURT-
        DIRECTED ADR PROGRAM (Doc 5); SCHEDULING MEETING OF
    7   COUNSEL [Pursuant to FRCP 16, 26 (f)] (Doc 6); and STANDING ORDER (Doc
        7) on all the appearing and/or interested parties in this action as follows:
    8
    9    Taras Kick                                Attorneys for Plaintiff
         Daniel J. Bass                            ROBERT B. HALL
   10    THE KICK LAW FIRM, APC
         815 Moraga Drive                          Tel: 310.395.2988
   11    Los Angeles, CA 90049                     Fax: 310.395.2088
                                                   Email: Taras@kicklawfirm.com
   12                                                     Daniel@kicklawfirm.com

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   23   Court at whose direction the service was made.
                Executed October 22, 2019 at Los Angeles, California.
   24
   25     MELODY BIGLAY                         By: /s/ Melody Biglay
                        Print Name                                      Signature
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   28
                                                  3
                                     DEFENDANT’S PROOF OF SERVICE
19674   FP 36355865.1
